1           IN THE UNITED STATES DISTRICT COURT
2            FOR THE SOUTHERN DISTRICT OF TEXAS
3                     HOUSTON DIVISION
4
5    SECURITIES AND EXCHANGE )
     COMMISSION,             )
6                            )
         Plaintiff,          )
7                            )
     vs.                     ) Case No. 4:22-cv-3359
8                            )
     MAURICIO CHAVEZ,        )
9    GIORGIO BENVENUTO, and )
     CRYPTOFX, LLC,          )
10                           )
         Defendants.         )
11                           )
         and                 )
12                           )
     CBT GROUP, LLC,         )
13                           )
         Relief Defendant.   )
14   ________________________)
15              ORAL AND VIDEOTAPED DEPOSITION OF
16                       MARIA SARAVIA
17                      DECEMBER 15, 2022
18
19        ORAL AND VIDEOTAPED DEPOSITION OF MARIA SARAVIA,
     produced as a witness at the instance of the PLAINTIFF,
20   and duly sworn, was taken in the above-styled and
     numbered cause on DECEMBER 15, 2022, from 9:17 a.m. to
21   6:19 p.m., before Donna L. Garza, CSR, in and for the
     State of Texas, reported by machine shorthand, at the
22   law offices of Shook, Hardy & Bacon, LLP, 600 Travis
     Street, Suite 3400, Houston, Texas, pursuant to the
23   Federal Rules of Civil Procedure and the provisions
     stated on the record or attached hereto; that the
24   deposition shall be read and signed before any notary
     public.
25   JOB No. 221215WWC
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        1    you to find CFX documents at home.
        2                     But my question is:    You know, do you know
        3    why these ended up at your house?
        4         A.   Yes.    Because maybe sometimes I would put it
15:06   5    in my purse.     And that was good; because if not, I
        6    wouldn't have brought anything.      Everything was there.
        7         Q.   I'm glad you did.
        8                     But just to clarify, was -- was there --
        9    was there any reason why you took these?
15:07 10          A.   No --
        11       Q.    Do you know when --
        12       A.    -- no reason.
        13       Q.    Do you know when you would have taken them?
        14       A.    Neither.    I have -- I have no idea.
15:07 15          Q.   Do you know other people who took documents
        16   like this home?
        17       A.    I don't know.     Because different people worked
        18   in different ways.
        19       Q.    Did CFX have any company policy about how
15:07 20     documents like this ought to be handled?
        21       A.    I don't know.     It was given to me.
        22       Q.    Okay.    By Norma?
        23       A.    Yes.    She was the one in charge.
        24       Q.    So, looking at that front page of Exhibit 47,
15:08 25     it bears a date that has not happened yet, right?
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        1                     THE INTERPRETER:      What?
        2           Q.   (BY MR. GULDE)     It bears a date that has not
        3    happened yet.
        4           A.   They made a mistake.
15:08   5           Q.   Yeah.   You believe that '23 to be a typo?
        6           A.   I believe.    Because over here, you can see it
        7    says '22.
        8           Q.   Okay.   And then -- but below that it says:
        9    "New Contracts."
15:08 10                      And it says "$310,500"; is that right?
        11          A.   Correct.
        12          Q.   Does that mean to you that on August 26th, you
        13   took in $310,500 in new contracts from CFX student
        14   investors?
15:09 15            A.   Maybe not only that day, maybe two or three
        16   days.
        17          Q.   Okay.   So --
        18          A.   I don't remember.
        19          Q.   Would it have been standard for a document
15:09 20     like this to cover not only this day, but a couple of
        21   days in front?
        22          A.   I didn't -- no, I didn't understand.
        23          Q.   Was it normal for this to cover more than one
        24   day?
15:10 25            A.   Yes, one, two, maybe three days.
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        1                        MS. THEMELI:   Actually, can you do that?
        2           A.   Yes.
        3                        MS. THEMELI:   Can you translate it for
        4    us?
17:20   5                        THE INTERPRETER:   "Nombre," name;
        6    "Cantidad," amount; "Entrego," Delivered.
        7           Q.   (BY MS. THEMELI)       Okay.   And do you see your
        8    name right there in the middle of this document,
        9    Ms. Saravia?
17:20 10            A.   Yes.
        11          Q.   Okay.    Then it says there under amount,
        12   $78,088.    And the date next to it is September 16th,
        13   2022.
        14          A.   I wasn't given anything on that date, no.
17:20 15            Q.   Did you deliver that amount to CFX on that
        16   day?
        17          A.   It could be possible.      I have delivered many.
        18   I don't remember.       This report --
        19          Q.   Yeah.
17:21 20            A.   I don't understand if this report says that
        21   they give it to me or if I gave.
        22          Q.   Well, I'm asking you:      Did you receive -- on
        23   September 16th, 2022, did you receive $78,888 from CFX?
        24          A.   No.
17:21 25            Q.   Okay.
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        1         A.    I haven't received that.
        2         Q.    Did you deliver to CFX $78,888 on
        3    September 16th, 2022?
        4         A.    Possibly, but I don't remember.      I would
17:22   5    deliver...
        6         Q.    How was money carried out of the Blalock
        7    office?
        8         A.    How do they take out?
        9         Q.    That was not a good question.
17:22 10                     At the end of the day when all the
        11   investors had left the office, would the CFX
        12   representatives or employees get the money out of the
        13   Blalock office?
        14       A.     I don't know.   I wasn't in the offices with
17:22 15     them.    I worked at another place there at the end.
        16       Q.     Did you ever work in the offices on the second
        17   floor?
        18        A.    No, never.
        19       Q.     The -- the safe that you described earlier,
17:23 20     that was on the first floor, right?
        21        A.    That's the way it is.
        22       Q.     Was that a -- how big was that safe?
        23        A.    It was small.
        24       Q.     Was that safe in a -- in a cabinet, or was it
17:23 25     by itself?
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